           Case 1:21-cv-00445-CJN Document 136 Filed 05/19/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

    Plaintiffs/Counter-Defendants,

      v.                                             Civil Action No. 1:21-cv-0445 (CJN)

MYPILLOW, INC., et al.,

   Defendants/Counter-Plaintiffs,

      v.

SMARTMATIC USA CORP., et al.,

    Third-Party Defendants.



                                             ORDER

       As set forth in the accompanying Memorandum Opinion, it is hereby ORDERED that

Smartmatic’s Motion to Dismiss, ECF No. 94, is GRANTED. It is further ORDERED that

Dominion and Hamilton Place’s Motion to Dismiss, ECF No. 115, is GRANTED. It is further

ORDERED that Smartmatic’s Motion for Sanctions, ECF No. 118, is GRANTED IN PART. It is

further ORDERED that Smartmatic and Lindell must provide briefs of no more than 10 pages

discussing the appropriate amount of costs in light of the Court’s Memorandum Opinion.

Smartmatic shall file its brief on or before May 27, 2022. Lindell shall file his brief on or before

June 3, 2022.

       It is SO ORDERED.

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                                                     CARL J. NICHOLS
                                                     United States District Judge
DATE: May 19, 2022


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